Case 1:19-cv-11187-LJL Document 68-9 Filed 07/06/21 Page 1 of 3




                       Exhibit I
          Case 1:19-cv-11187-LJL Document 68-9 Filed 07/06/21 Page 2 of 3


                                                                                                     New York
                                                                                     885 Third Avenue, 20th Floor
                                                                                       New York, NY 10022-4834
                                                                                                Tel: 212.209.3050
                                                                                               Fax: 212.371.5500

                                                                                                     Princeton
                                                                                   4 Independence Way, Ste. 120
                                                                                            Princeton, NJ 08540
                                                                                               Tel: 609.514.1500
                                                                                              Fax: 609.514.1501


                                                                                      www.reitlerlaw.com
                                               July 1, 2021
VIA EMAIL
Rachel E. Fertig, Esq.
Morgan, Lewis & Bockius LLP
1111 Pennsylvania Avenue, NW
Washington, DC 20004

                Re: Paulette Rubinstein v. Music Sales Corporation; 19-cv-11187

Dear Counselors:

         We write in response to your letter dated June 29, 2021, regarding Music Sales
Corporation’s (hereinafter “Music Sales”) Responses and Objections to your client’s Second Set of
Interrogatories. We will provide a formal response under separate cover responding to the portion
of your letter which pertains to the First Set of Requests for Admissions.

         In regard to your Second Set of Interrogatories, Music Sales objects to and rejects your
argument that Local Rule 33.3(a) does not apply. Moreover, despite your opening statement in
Paragraph 1 of your Second Set of Interrogatories dated April 12, 2021, the Local Rules make clear
that your attempted application of Local Rule 33.3(b) and 33.3(c) during this stage of discovery is
improper and does not entitle you to any additional responses aside from those which you have
already received.

         Specifically, Local Rule 33.3(a) establishes that, unless otherwise ordered by the Court, at
the commencement of discovery, interrogatories will be restricted to those seeking names of
witnesses with knowledge of information relevant to the subject matter of the action, the
computation of each category of damage alleged, and the existence, custodian, location and general
description of relevant documents. Your Second Set of Interrogatories clearly goes above and
beyond the limitations imposed by 33(a) and as such your interrogatories are improper. Local Rule
33.3(b) establishes that during discovery, interrogatories other than those seeking information
described in paragraph (a) above may only be served (1) if they are a more practical method of
obtaining the information sought than a request for production or a deposition, or (2) if ordered by
the Court. As you are aware, there is no such court order in place and the interrogatories are most
certainly not a more practical method of obtaining the information sought. Your client has already
served excessive demands for document production and depositions and the information you seek
is more readily available through those means. Your Second Set of Interrogatories are excessive,
overly broad, unduly burdensome and entirely disproportional to the needs and value of the case.

276292
          Case 1:19-cv-11187-LJL Document 68-9 Filed 07/06/21 Page 3 of 3

July 1, 2021
Page 2 of 2

As we have already advised, the Composition in dispute If I’m Lucky, I’ll Be The One (the
“Composition”), earned a total of $619.44 from 2011 – 2020. Furthermore, in accordance with the
three-year statute of limitations governing copyright matters, to the extent your client is entitled to
any damages at all, she is limited to those incurred three years from the date the pleadings were
filed, further diminishing the value of the case. Your excessive discovery demands are unduly
burdensome and appear to be intended merely to harass our client Music Sales.

         Additionally, as you are aware, Local Rule 33.3(c) authorizes the service of contention
interrogatories only at the conclusion of discovery, unless the Court has ordered otherwise. As
discovery is still ongoing, depositions have not yet been conducted, and the court has not ordered
otherwise, Local Rule 33.3(c) does not entitle you to further responses at this juncture. Music Sales
maintains that the Second Set of Interrogatories are untimely, in that they have been served
prematurely. While the bottom paragraph of ECF filing 48, limits parties to 15 total Local Rule
33.3(b) and 33.3(c) interrogatories per side, this sentence does not alter, minimize, or obfuscate the
obligations imposed by Local Rules 33.3(a), (b) and (c).

         Moreover, notwithstanding the applicability of the Local Rules, your interrogatories, which
seek facts supporting a particular allegation are inherently improper. See Clean Earth Remediation
and Construction Services Inc. v. American International Group Inc., 245 F.R.D. 137 (S.D.N.Y.
2007) in which the court declined to compel plaintiff to respond more fully to defendant’s
interrogatories, and suggested that the work product doctrine may impose additional limitations on
interrogatories aimed at uncovering evidentiary support for specific claims. The court also held that
contention interrogatories, may not be served until the conclusion of discovery in accordance with
Local Civil Rule 33.3(c).

         In sum, Music Sales stands by the objections contained in its Responses served on June
21, 2021. Should you have any further questions, please do not hesitate to contact me. Thank you
for your anticipated cooperation.

                                                               Very truly yours,

                                                               /s/ Madison A. Kucker

                                                               Madison A. Kucker
